437 F.2d 960
    LOCKWOOD BROS., INC., and Horne Bros., Inc., Appellees,v.McALLISTER BROS., INC., Appellant.HORNE BROS., INC., and Lockwood Bros., Inc., Appellees,v.McALLISTER BROS., INC., Appellant.
    Nos. 15114, 15115.
    United States Court of Appeals, Fourth Circuit.
    Argued Feb. 2, 1971.Decided Feb. 9, 1971.
    
      Robert M. Hughes, III, Norfolk, Va.  (Seawell, McCoy, Winston &amp; Dalton, Norfolk, Va., on the brief), for appellant.
      R. Arthur Jett, Jr., Norfolk, Va.  (Jett, Sykes &amp; Berkley, Norfolk, Va., on the brief), for appellees.
      Before BRYAN and BUTZNER, Circuit Judges, and MILLER, District Judge.
      PER CURIAM:
    
    
      1
      While moored on the side of its pier on the James River near Newport News, Virginia, about midday January 24, 1969, a Horne Bros. Inc.'s barge and a crane thereon belonging to Lockwood Brothers, Inc., were substantially damaged by the wake of McAllister Bros., Inc.'s tug.  While passing this point it created a bow swell that violently dislocated and disrupted the then engagement of the barge and crane in lifting a 28-ton door into place upon a United States LST.  The tug was found at fault in Horne's and Lockwood's suits against McAllister; on McAllister's third-party claim against them for contribution, Lockwood and Horne were declared innocent.
    
    
      2
      Without questioning its own delinquency, McAllister appeals from the acquittal of Lockwood and Horne.  The District Judge's written opinion, 322 F.Supp. 304 (E.D.Va. July 13, 1970), embodies warrantable fact findings and sound conclusions of law, and we affirm upon it.
    
    
      3
      Affirmed.
    
    